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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

NANCY ALANIS,
Plaintiff,

v. SA-23-CV-749-FB-HJB
U.S. BANK NATIONAL ASSOCIATION, as
Successor Trustee to Bank of America, National
Association, as Successor by Merger to LaSalle
Bank, N.A. as Trustee for the MLMI Trust Series
2006-HE6; NATIONSTAR MORTGAGE LLC
d/b/a Mr. Cooper; PHH MORTGAGE
CORPORATION, Successor by Merger to Ocwen
Loan Servicing, LLC; OCWEN LOAN
SERVICING, LLC; WELLS FARGO BANK,
N.A.; MARK D, CRONENWETT; and MACKIE
WOLF ZIENTZ & MANN, PC as Debt Collector,

Defendants.

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SHOW CAUSE ORDER

Before the Court is the status of Plaintiff’s service of process on Defendant Mackie Wolf
Zientz & Mann, PC (“Mackie Wolf”). Pretrial matters have been referred to the undersigned for
consideration. (Docket Entry 6.) For the reasons set out below, the Court orders Plaintiff to show
cause why her claims against Mackie Wolf should not be dismissed for lack of service.

Plaintiff originally filed suit in state court. (Docket Entry1-3, at 2.) Mackie Wolf was not
a Defendant at that time. After the case was removed to this Court, Plaintiff filed a 647-page
amended complaint—including attachments—that added Mackie Wolf as a Defendant. (Docket
Entry 32.) The undersigned recommended that the complaint be dismissed under Federal Rule of
Civil Procedure 8(a)(2). (Docket Entry 61.) While the report and recommendation was pending,

Plaintiff filed an “Affidavit of Non-Service,” describing three unsuccessful attempts by Plaintiff’s
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process server to deliver the summons and amended complaint on Mackie Wolf. (Docket Entry
71.) That same day, Plaintiff moved for an extension of time to complete service on Mackie Wolf,
and for permission to use alternate forms of service. (Docket Entry 73.) Seven days later, the
Court adopted the undersigned’s report and recommendation, dismissed Plaintiff’s complaint, and
ordered her to file a second amended complaint of no more than 25 pages. (Docket Entry 81.)

Plaintiff filed her second amended complaint on March 18, 2024. (Docket Entry 94.) On
May 2, 2024, the undersigned dismissed as moot Plaintiff’s motion for extension of time to
complete service of her first amended complaint on Mackie Wolf, explaining that her first amended
complaint had been superseded by her second amended complaint. (Docket Entry 115, at 8.) It
has now been more than eleven months since Plaintiff filed her second amended her complaint,
and she has yet to file any proof of service on Mackie Wolf. (See Docket Entry 94-170.)

“If a defendant is not served within 90 days after the complaint is filed, the court—on
motion or on its own after notice to the plaintiff—must dismiss the action without prejudice against
hat defendant or order that service be made within a specified time.” FED. R. Civ. P. 4(m).
However, “if the plaintiff shows good cause for the failure, the court must extend the time for
service for an appropriate period.” Jd. “Proof of good cause requires at least as much as would be
required to show excusable neglect.” Thrasher v. City of Amarillo, 709 F.3d 509, 511 (Sth Cir.
2013) (citation and internal quotation marks omitted). It also requires “some showing of good
faith ... and some reasonable basis for noncompliance within the time specified.” /d. (citations
and internal quotation marks omitted). “A litigant’s pro se status neither excuses [her] failure to
effect service nor excuses [her] for lack of knowledge of the Rules of Civil Procedure.” /d.

Accordingly, on or before March 10, 2025, Plaintiff must SHOW CAUSE why her claims

against Mackie Wolf should not be dismissed without prejudice for lack of service. Plaintiff’s
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response, including attachments, shall not exceed 10 pages—using 12 point, double spaced,

Times New Roman font. Any response that fails to strictly comply with this Order will be

Henry J./Bempora
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stricken.
It is so ORDERED.

SIGNED on February 25, 2025.

ates Magistrate Judge
